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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION

UNITED STATES OF AMERICA                  )       CASE NO. 4:19-cr-109
                                          )
              v.                          )
                                          )
MELANIE SMITH and                         )
HOLLY CLAYTON                             )

                                        ORDER

           Based upon the motion of the Government, and for good cause shown

therein, the Government's motion for leave of absence is GRANTED for the following

dates:

              a)    October 7-8, 2019

              b)    October 23-25, 2019

              c)    November 4-8, 2019

              d)    December 30, 2019-January 3, 2020

         IT IS FURTHER ORDERED that should a hearing be set during those dates,

a substitute Assistant United States Attorney may handle the matter.

         SO ORDERED, this    /S}
                             I
                                        day of   M l-ll.A_   2019.




                                          NORABL CHRISTOPHER L. RAY
                                        UNITED STATES MAGISTRATE JUDGE
                                        SOUTHERN DISTRICT OF GEORGIA
